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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
                               (Baltimore Division)


In re:                                          Bankruptcy Case No:

THE ROMAN CATHOLIC                              Case No.: 23-16969-MMH
ARCHBISHOP OF BALTIMORE
                                                Chapter 11
   Debtor.


         APPOINTMENT OF UNSECURED CREDITORS COMMITTEE

      Pursuant to 11 U.S.C. §1102, the following creditors are hereby appointed by the
United States Trustee to serve on the Official Committee of Unsecured Creditors of THE
ROMAN CATHOLIC ARCHBISHOP OF BALTIMORE:

 Paul Jan Zdunek                            Carl L. Bart, Jr.
 c/o Andrew D. Freeman                      c/o Ryan S. Perlin
 Brown, Goldstein & Levy                    Beckman, Marder, Hopper, Malarkey &
 120 East Baltimore Street, Suite 2500      Perlin, LLC
 Baltimore, Maryland 21202                  1829 Reisterstown Road, Suite 200
 (410) 962-1030                             Baltimore, Maryland 21208
                                            (410) 539-6633

 Joseph Adam Martin, Jr.                    Rebecca Williams
 c/o Ryan S. Perlin                         c/o Ellen Flynn
 Beckman, Marder, Hopper, Malarkey &        The Yost Legal Group
 Perlin, LLC                                341 North Calvert Street, Suite 100
 1829 Reisterstown Road, Suite 200          Baltimore, Maryland 21202
 Baltimore, Maryland 21208                  (410) 659-6800
 (410) 539-6633


 Robert Hammond                             Joseph George Otterbein
 c/o Jonathan Schulman                      c/o Jonathan Schochor
 Slater, Slater, Schulman, LLP              Schochor, Staton, Goldberg & Cardea,
 8 Park Center Court, Suite 100             P.A.
 Baltimore, Maryland 21117                  1211 St. Paul Street
 (212) 922-0906                             Baltimore, Maryland 21202
                                            (410) 234-1000
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 Jonathan Salamone
 c/o Steve Boyd
 Steve Boyd, P.C.
 400 East Pratt Street, 8th Floor
 Baltimore, Maryland 21202
 (410) 204-1100


                                                   David W. Asbach
                                                   Acting United States Trustee for Region 5


Date: October 11, 2023                       By: /s/ Hugh M. Bernstein
                                                Hugh M. Bernstein
                                                (Fed. Bar No.: 23489)
                                                United States Department of Justice
                                                101 West Lombard Street, Suite 2625
                                                Baltimore, Maryland 21201
                                                (410) 962-4300
                                                hugh.m.bernstein@usdoj.gov

                                                   Attorney for the United States Trustee




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                                CERTIFICATE OF SERVICE

       I HEREBY FURTHER CERTIFY that according to the Court’s ECF records, electronic

notice of this motion should be provided to the following persons:

      Hugh M. (UST) Bernstein hugh.m.bernstein@usdoj.gov
      Philip Tucker Evans philip.evans@hklaw.com,
       kimi.odonnell@hklaw.com;hapi@hklaw.com
      Geoffrey Grivner geoffrey.grivner@bipc.com, donna.curcio@bipc.com
      Catherine Keller Hopkin chopkin@yvslaw.com,
       pgomez@yvslaw.com;kreese@yvslaw.com;vmichaelides@yvslaw.com;yvslawcmecf@g
       mail.com;hopkincr39990@notify.bestcase.com;schroppjr39990@notify.bestcase.com
      Steven J Kelly skelly@gelaw.com,
       vbeal@gelaw.com,gnovod@gelaw.com,4523903420@filings.docketbird.com
      James Pio Ruggeri jruggeri@ruggerilaw.com
      US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

And that further notice is being provided to all required parties by Epiq Corporate Restructuring,
LLC

                                                            /s/ Hugh M. Bernstein
                                                            Hugh M. Bernstein




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